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                                                     Exhibit 29
                    Designations of Deposition Testimony of Harold Vanarsdale (August 24, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
        7:8                    7:10
       12:1                    12:2
       12:14                   13:8
       14:2                    17:8
       17:13                  18:23
       19:7                    20:3
       20:18                   21:6
       21:24                  22:13
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       29:15                  30:15
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       35:10                  35:15
       35:16                  35:18
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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
       50:12                  50:15
       50:17                  50:20
       50:21                   51:8
       51:10                  51:21
       52:3                    53:8
       57:7                   57:12
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       72:18                  72:20
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